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                                                                                           r 7I-Vy-2OI7-9OOtS9OO! 	    'i
                                                                                                CIRCUIT COURT Ol
                                                                                       . -COFFEE

                        IN THE
                           iilE CIRCUIT COURT OF COFFEE coUNT'1
                                   ENTERPRISE DiVISION

         •	   DOUGLAS K. GALLINGER,	                        )	                -
                      Plaintiff,,	                          )
                                                            )             Cue No.:CV-2017-_9Ôdt
              v.	                                           )	            H

              JPMORGAN CHASE BANK,	                         )
              dibla CHASE BANK USA, N.A.,	                 )
              and Fleddous Defendants A through D whether slngsilaror plural, Intending to refer to
              the true name of that person, firm, corporation, or other entity or successor In Interest
              who Or which Jointly, separately, and/or severally who caused damages to Plaintiff by
              the breach of a duty owed to Plaint II. Defendants A through D are defendants whose
              true Identifies are not known to the Plaintiff at this time, but who will be substituted to
              this Complaint When their Identity as proper party defendants has been determined..
    /	                                .•	                   )
                      Defendants.	                          )
                                                                                                  -

              PLEASE NOTE: Plaintiffs' First Interrogatories, Request for Production of
                              Documents. Request for Admissions and Notice of Deposition
                              have been served with this Complaint If you did not receive these
                              documents, please telephone the undersigned attorney's office,
                              and a copy will be forwarded to you Immediately

                      COMES NOW THE PLAINTIFF            in the above-styled -action and file the following

              Complaint:	                      •	                                                        -

                               GENERAL AND JIJRDICIIONALALLEGA4IEONS

              1.     • The Ipatters in dispute, exclusive Of costs, exceed the	                 jurisdictimW

              requirements ofthis. Couit.	                 .. .	   ...	           . ...•.....
              2.     Venue is appropriate- in this Court because the conduct complained ofherein occurred

              in Coffee County,.Alabaina.•

              3.      P1In6 ffDouglas Galiingeç (hen after "Plaintiff" or"Gallinger") is an adult resident

              and citizen of Coffee County Alabama.
                                                            1•
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                       4.	          Do fendant JPMorgan Chase Bank dfbfa Chase Bank USA, NA. (bereinaftr.
          •	
                       "Defendant" or "Company") is a %reign corporation organized under the lawi ofthe State of

•	                     New York which was. doing business through agents at all times material hereto in Coffee

                       County,Alabma.	                                      .

                       5.	          A substantial part of the acts and omissions giving rise to Gallinger's claims against

                       Defemlant occurred in Coffee County, Alabama.	                                                       -
     •	                6.	          The breach of contract made the basis of the Gallinger's Complaint OcCutp d On or

                       about September 19, 2016, in Coffee County, Alabama.

                       7.           The interference with existing contractual and business relationships made the basis of

                       the Gallingr's Complaint occurred on or about December 19, 2016.

                                                                    COUNT ONE
     . •	                                                          NEGLIGENCE

                       8.           Plaintiff hereby adopts and reavers all of the above allegations, as if fully set out

                       herein.

                       9	           Prior to the spring of20l4, Gallinger owed a debt to the Defendant in the amount Of

                    • approximate$15,000.00.	                                   •

               •	      10. 	        In approximately the spring of 2014, Galliuger entered into a payment agreement with
                       the Defendant by which Gallinger agreed to make monthly payments to the Dfendant.
                    • 11. Thereafter, Gallinger made regular monthly payments to the Defendant in amount

                    • of $250.00 per month fbr more than two years.	                                       .

                       12.          Gallinger's monthly payments tothe Defendant came byway Ofñutonlatic deductions

                     • froth Gallinger's bank account with Nationwide Bank.	            •
                                                                monthly
                         13. .Gallnger owed the duty to make            payments as agreed.
                               •	                         •	
                                                                           2
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                        14.     Defendant owed (3allinger the duty to create and keep accurate records and to process

          •	            Gaflinger's payments and apply the payments to Gallmger's . account.

                        15.     Gallinger kept his end of the bargah by making sure his bank accounthad sufficient

                        funds to enable the Defendant to withdraw the monthly payments as agreed.

                        16.     Unbeknownst to Gallinger, in approximately July2016, the Defendant negligently and

                        incorrectly listed the Gallinger as deceaSed in the Dthndant's records, and as a result, the
                        Defendant instructed the Gallioger's bank to stop sending monthlypayments onto Gauingcr's

                        account balanced owed to Defendant.
                        17.     During much of this time, Plaintiffwas employed in the Middle East in an occupation

                        that required him to possess a valid Secret Clearance

•	                      18.	    In approximately September 2016, Plaintiff
                                                                   __ received a letter from the Defendant

                        addressed to The Estate of Douglas Keith Gallinger in which the Defendant thanked the

                    • Gallinger for notifying the Defendant of Gallinger's death and requested a copy of Gallinger's

                          athceificate

                        19. Because the Gallinger was not and is not deceased, the Gallinger new notified the

                        Defendant of his death.

     •	                 20. Due to his deployment to the Middle East, Gallinger was often unable to receive his
                     • inailin a timely manner. •

                        21.     However, as soon as the Ga11ingr received a copy of the letter from thC Defendant
                        addressed to Gailinger's Estate Plaintiff contacted a rei*esentátive of the DefendAnt and he

               •	       informed the representative that be was still alive.

                        22.    The Defendant! srepresentative assured the Oerthatthenmtterwould be resolved

                        with. no adverse consequences to the Gallinger.,
                                                                        3	      .
	
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                        •	   23.	    However, because of the Defendant's error in Classifying the (lIlingeras deceased and
    •	
                             the Defendant's error in stopping automatic withdrawals from the Gallinger's bank account to

                             satisfy the debt Gallinger owed.to the :Defexidnt, the Defendant reported Gallh%ger as being

         •	                  delinquent on the debt he owed to the Defendant.

                             24.     As a direct result of the Defendant's failure to accept monthly payments from the

    •	                       Gallinger, when the Defendant reported Gallingeras being delinquent on the debt, GaHingas
                             security Clearance was revoked and Gall inger lost his employment.

                             25.     Gaflinger tried numerous tithes to-convince the Defendant that be was and is alive and
                             that he was making the agreed upon monthly payments until the Defendant's negligence

                             caused the payinnts to stop.	                           ..	                    .

                             26.     In other words, the Defendant stopped accepted payments.froin the Gallinger and then

                             reported the Gallinger as delinquent.	                          .

                             27.     Defendant breached one or more duties it owed to GRllinger, including but not limited

              •	             to, the duty to create and keep accurate records, to not list Gallinger as deceased when he was
                             not deceased, to accept Gallinge?s monthly payments as agreed and to pot report Gallinger as

                             delinquent when- he was not delinquent.	                                            ..

                             28.     As a proximate result of the Defendant's negligence, the Plaintiff lost his security
                   •	
                             clearance and his job and has suffered other damages. 	                                  .
                                     WHEREFOM the Plaintiff demands judgment against the Defendant in suth amount

                             as May be awarded byajury.
                              •	       •	                      COUNT TWO	                              .•
                                                       TORTIO1JS INTERFEUNCE WiTH
                                                        CONTRACTUAL RELATIONSHIP

                             29.    . Plaintiff hereby adopts and reavers all of the above allegations, as if fully set-out
                                                                            .4
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herein.                                                                         S




30.	      At all times material hereto, Defendant knew, or had reason to know, of-the existing

contractual relationship between Gallinger and his employer.

31..	     Knowing filly of the existence of the ongoing contractual relationship, and fully

knowing that interference with this employer would damage Gallinger's ability to generate

revenue, Defendant, without justification orpiivi1eg, mUmbonally and with malice interfered
with Gallinger!s contractual relationship with his employer.

32.       The Defendant's interference with Gallinger's contractual relationship with, his
employer included wrongfully repoi:ting Gallinger as dead; failing to accept Gallinge?s agreed

upon payments; reporting Gallinger as delinquent when it was the Defendant's conduct that

caused the delinquency and cawing Gallinger's security clearance to be revoked.

33.       As a direct and proximate consequence of Defeudan's intentional and unjustified

interference, GaUinger has been and continues to be damaged.

          WHEREFORE PREMISES CONSIDERED, Gallinger hereby demands judgment

against the Defendant for any and all damages as necessary to compensate bàn for the losses

that he sustained. Plaintiff fwther demands costs, attorney's fees, interest, and any and all

other damages as afloed by law, in an amount to be determined by the trier of fact


 •	
                                         JURY DEMAND

          Plaintiff hereby demands a jury trial as to. all issues so triable.
                       S




                                             is/ TracvWCaw
                                             Tracy W.COY
          Dated this the 22nd day dOctabei, 2017.

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                                                     MoRRIs, CARY, ANDREWS,
                                                     TALMADOE &DRIGGERS, LLC

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•	
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                                                             fdr
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                                                     DCttn, Alabama 36303
          •	                                         (334) 702-0000 Tel
                    •	
                                                     (334) 673-0077 Fax
                                                     tcarymcadaw.com

                         PLEASE SERVE DEFENDANT BYCERTIRED MAIL:
                         JPMocgan Chase Bank
                         do CT Corporation System
                         2 North Jackson Street Suite 605
                         Montgomery, AL 36104	            •




                           •	                                        •	       •




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